Case 2:21-cv-14260-XXXX Document 1 Entered on FLSD Docket 06/26/2021 Page 1 of 11




                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO.:

  JOSE CORPENING,                        )
                                         )
         Plaintiff,                      )
                                         )
  vs.                                    )
                                         )
  THE RESIDENCE OF STUART INC.,          )
  a Florida for Profit Corporation., and )
  SOSAMMA THOMAS, an individual,         )
                                         )
         Defendants,                     )
                                         )
  ___________________________________ )

                                     COMPLAINT

        The Plaintiff, Jose Corpening (hereinafter “Mr. Corpening” or “the Plaintiff”),

  by and through his undersigned counsel, hereby files this Complaint against

  Defendants The Residence of Stuart Inc., a Florida for profit corporation, (hereinafter

  “Residence of Stuart” or “Corporate Defendant”) and Sosamma Thomas (hereinafter

  “Ms. Thomas” or “the Individual Defendant”)(collectively “the Defendants”) and

  states as follows:

                           PRELIMINARY STATEMENT

        1.     The Plaintiff, Mr. Corpening, a former employee of the Defendants,


                                            1
Case 2:21-cv-14260-XXXX Document 1 Entered on FLSD Docket 06/26/2021 Page 2 of 11




  asserts claims pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §201

  et seq. and the Florida Minimum Wage Act (“FMWA”), Fla. Stat. 448.110(3) for

  unpaid minimum wages and unpaid overtime against Residence of Stuart and Ms.

  Thomas, who operated an institution primarily engaged in the care of the sick and the

  aged.

                           JURISDICTION AND VENUE

          2.   This Court has original subject matter jurisdiction over the federal

  claims presented under 28 U.S.C. §1331.

          3.   This Court has supplemental jurisdiction over the FMWA claim

  pursuant to 28 U.S.C. §1367(a) because the claim shares a common nucleus of

  operative fact with the federal claims asserted herein.

          4.   This Court has the power to grant declaratory relief pursuant to 28

  U.S.C. §2201 and §2202.

          5.   Venue in this District is appropriate pursuant to 28 U.S.C. §1390(b)(3)

  and §1391( c) because the Defendants conduct business in this judicial district.

                                      PARTIES

          6.   Plaintiff, Mr. Corpening, was continuously employed within the

  meaning of 29 U.S.C.§203 as a caregiver at the Defendants’ residential home for the

  aged located at 1048 N.W. Fork Road, Stuart, FL 34994 from on or about February

                                            2
Case 2:21-cv-14260-XXXX Document 1 Entered on FLSD Docket 06/26/2021 Page 3 of 11




  25, 2020 to on or about September 1, 2020.

         7.     Upon information and belief, Defendant Residence of Stuart, is a for

  profit corporation incorporated in the State of Florida that operates a group home for

  the sick and the aged in Martin County, Florida. Residence of Stuart has a business

  presence in the State of Florida and/or otherwise conducts business and/or provides

  services in the State of Florida, and is subject to the personal jurisdiction of this Court

  and the Courts of the State of Florida. Individual Defendant, Ms. Thomas is the

  Residence of Stuart’s Registered Agent at 1048 N.W. Fork Road, Stuart, FL 34994.

         8.     At all times relevant to this action, Residence of Stuart both possessed

  and exercised the power and the authority to direct, control and supervise the work

  performed by the Plaintiff. At all times relevant to this Complaint, Residence of

  Stuart was an “employer” of the Plaintiff within the meaning of 29 U.S.C. §203(d)

  as well as Fla. Stat. 448.110.

         9.     Upon information and belief, Ms. Thomas is, and at all relevant times

  was over eighteen years of age, competent, not in military service, sui juris, and a

  resident of Florida.

        EXHAUSTION OF CONDITION PRECEDENT TO FILING SUIT

         10.    On or about June 7, 2021 undersigned counsel sent a letter via U.S.

  Certified Mail to Ms. Thomas notifying her that the Defendants violated Fla. Stat.

                                              3
Case 2:21-cv-14260-XXXX Document 1 Entered on FLSD Docket 06/26/2021 Page 4 of 11




  448.110 when they failed to pay the Plaintiff a minimum wage under Florida Law and

  alerting her to the fact that the Plaintiff intended to file suit if the Defendants, within

  fifteen days from receipt of the letter did not pay him the difference between the

  amount owed to him under the FMWA and the amount actually paid to him during

  the course of his employment. Ms. Thomas received the Certified Letter on June 10,

  2021 and Counsel for the Defendants responded on June 22, 2021 stating that “The

  Residence...neither intends to make the payment sought by Mr. Corpening, nor meet

  the fifteen day state statutory deadline.”

                              FACTUAL ALLEGATIONS

         11.    Residence of Stuart is an enterprise as that term is defined in the FLSA

  because it operates an institution primarily engaged in the care of the sick and the

  aged who reside on the premises of such institution

         12.    Defendant Ms. Thomas hired Mr. Corpening to work as a live in

  caregiver for the eight or more elderly residents who resided at The Residence of

  Stuart.

         13.    Mr. Corpening was initially told that he would be paid two hundred

  ($200.00) dollars a week to work the night shift monitoring the residents and assisting

  them when they needed to use the bathroom.

         14.    Mr. Corpening soon found out that he was expected to work up to

                                               4
Case 2:21-cv-14260-XXXX Document 1 Entered on FLSD Docket 06/26/2021 Page 5 of 11




  sixteen hours a day seven days a week monitoring the residents, assisting them when

  they needed to use the bathroom, making their beds, changing their diapers, feeding

  the residents, washing their clothes, cleaning the rooms and mopping the floors

  among other tasks all for two hundred ($200.00) dollars a week.

                             INDIVIDUAL LIABILITY

        15.    At all times relevant to this action, Ms. Thomas, both possessed and

  exercised the power and authority to direct, control and supervise the work performed

  by Mr. Corpening.

        16.    At all times relevant to this action, Ms. Thomas had the power to hire

  and fire Mr. Corpening, supervised and controlled Mr. Corpening’s work schedule

  and/or conditions of employment; determined the rate and method of Mr. Corpening’s

  payment and maintained Mr. Corpening’s employment records.

        17.    Ms. Thomas was an “employer” of Mr. Corpening within the meaning

  of 29 U.S.C. §203(d) and Fla. Stat. 448.110.

       COUNT ONE - FLSA MINIMUM WAGE VIOLATIONS AGAINST
              DEFENDANTS JOINTLY AND SEVERALLY

        18.    The allegations made in the preceding paragraphs 1 through 17 above

  are re-alleged and incorporated herein by reference.

        19.    29 U.S.C. §206(a)(1)( c) provides that an employer must pay a minimum


                                           5
Case 2:21-cv-14260-XXXX Document 1 Entered on FLSD Docket 06/26/2021 Page 6 of 11




  wage of $7.25 per hour.

        20.    Between the period of on or about February 2, 2020 through on or about

  September 1, 2020, Mr. Corpening worked up to 112 hours per week as a live-in

  caregiver.

        21.    During this period, Mr. Corpening received a salary of two hundred

  ($200.00) dollars a week. When dividing this salary by the weekly hours worked, Mr.

  Corpening was paid as little as $1.79 per hour which did not meet the applicable

  minimum wage mandated by the FLSA. Therefore, Mr. Corpening claims the

  difference between the amount paid to Mr. Corpening and the applicable minimum

  wage for all hours worked during the time period in question.

        22.    Defendants wilfully and intentionally refused to pay Mr. Corpening’s

  minimum wages as required by the FLSA as Defendants knew of the federal

  minimum wage requirements under the FLSA or recklessly failed to investigate

  whether their payroll practices were in accordance with the FLSA.

        21.    Defendants remain owing Mr. Corpening these wages since the

  commencement of Mr. Corpening’s employment with the Defendants for the time

  period specified above.

        WHEREFORE, Plaintiff requests all amounts owed to him in unpaid minimum

  wages, liquidated damages and reasonable attorney’s fees from the Defendants,

                                           6
Case 2:21-cv-14260-XXXX Document 1 Entered on FLSD Docket 06/26/2021 Page 7 of 11




  jointly and severally, pursuant to the FLSA together with costs, interest and any other

  relief that this Court finds reasonable under the circumstances.

    COUNT TWO FLORIDA MINIMUM WAGE1 VIOLATIONS AGAINST
            DEFENDANTS JOINTLY AND SEVERALLY

        22.    The allegations made in the preceding paragraphs 1 through 17 above

  are re-alleged and incorporated herein by reference.

        23.    Fla. Stat. 448.110(3) and its implementing regulations state that

  employers shall pay employees a minimum wage of $8.56 beginning January 1, 2020

  for a period of twelve months.

        24.    All statutory conditions precedent pursuant to Fla. Stat. 448.110 have

  been met by Mr. Corpening as alleged specifically above.

        25.    Between the period of on or about February 2, 2020 through on or about

  September 1, 2020, Mr. Corpening worked up to 112 hours per week as a live-in

  caregiver.

        26.    During this period, Mr. Corpening received a salary of two hundred

  ($200.00) dollars a week. When dividing this salary by the weekly hours worked, Mr.

  Corpening was paid as little as $1.79 per hour which did not meet the applicable

        1

  To the extent Plaintiff’s claim for the Florida Minimum Wage overlaps Plaintiff’s
  claim for the Federal Minimum Wage, Plaintiff is claiming the higher of the two
  applicable rates.

                                            7
Case 2:21-cv-14260-XXXX Document 1 Entered on FLSD Docket 06/26/2021 Page 8 of 11




  minimum wage mandated by Fla. Stat. 448.110. Therefore, Mr. Corpening claims the

  difference between the amount paid to Mr. Corpening and the applicable minimum

  wage for all hours worked during the time period in question.

        27.    Defendants wilfully and intentionally refused to pay Mr. Corpening’s

  minimum wages as required by Fla. Stat. 448.110 as Defendants knew of the federal

  minimum wage requirements under Fla. Stat. 448.110 or recklessly failed to

  investigate whether their payroll practices were in accordance with Fla. Stat. 448.110.

        28.    Defendants remain owing Mr. Corpening these wages since the

  commencement of Mr. Corpening’s employment with the Defendants for the time

  period specified above.

        WHEREFORE, Plaintiff requests all amounts owed to him in unpaid minimum

  wages, liquidated damages and reasonable attorney’s fees from the Defendants,

  jointly and severally, pursuant to Fla. Stat. 448.110 together with costs, interest and

  any other relief that this Court finds reasonable under the circumstances.

   COUNT THREE - FEDERAL OVERTIME WAGE VIOLATION AGAINST
             DEFENDANTS JOINTLY AND SEVERALLY

        29.    The allegations made in the preceding paragraphs 1 through 17 above

  are re-alleged and incorporated herein by reference.

        30.    29 U.S.C. §207(a)(1) requires an employer to pay an employee overtime


                                            8
Case 2:21-cv-14260-XXXX Document 1 Entered on FLSD Docket 06/26/2021 Page 9 of 11




  at a rate of not less than one and a half times the employee’s regular hourly rate for

  each hour that the employee works over forty hours in a workweek.

        31.    Between the period of on or about February 2, 2020 through on or about

  September 1, 2020, Mr. Corpening worked up to 72 hours of overtime per week as

  a live-in caregiver.

        32.    During that period, Mr. Corpening is owed three dollars and sixty-three

  cents ($3.63) for each of the up to 72 hours a week of overtime that he worked being

  half the Federal Minimum Wage that he was entitled to be paid.

        33.    Defendants wilfully and intentionally refused to pay Mr. Corpening’s

  overtime wages as required by the FLSA as Defendants knew of the federal overtime

  wage requirements under the FLSA or recklessly failed to investigate whether their

  payroll practices were in accordance with the FLSA.

        34.    Defendants remain owing Mr. Corpening these wages since the

  commencement of Mr. Corpening’s employment with the Defendants for the time

  period specified above.

        WHEREFORE, Plaintiff requests all amounts owed to him in unpaid overtime

  wages, liquidated damages and reasonable attorney’s fees from the Defendants,

  jointly and severally, pursuant to the FLSA together with costs, interest and any other

  relief that this Court finds reasonable under the circumstances.

                                            9
Case 2:21-cv-14260-XXXX Document 1 Entered on FLSD Docket 06/26/2021 Page 10 of 11




                  COUNT FOUR - DECLARATORY JUDGMENT

         35.    The allegations made in the preceding paragraphs 1 through 17 above

   are re-alleged and incorporated herein by reference.

         36.    The parties to this action are in dispute as to their respective rights,

   privileges and/or obligations under the FLSA and Fla. Stat. 448.110, and require

   declaratory relief as to what those respective rights, privileges and obligations are.

         WHEREFORE, Plaintiff respectfully requests the Court to declare that the

   Defendants violated their obligations under the FLSA and Fla. Stat. 448.110 to pay

   the Plaintiff at the regular minimum wage rates under the FLSA and Fla. Stat.

   448.110 and at the regular overtime wage rates under the FLSA

                             DEMAND FOR JURY TRIAL

         Plaintiff, demands trial by jury on all counts alleged above.

   Dated this 26th day of June, 2021.




                                             10
Case 2:21-cv-14260-XXXX Document 1 Entered on FLSD Docket 06/26/2021 Page 11 of 11




                                Respectfully Submitted,

                                /s/ Anthony V. Falzon
                                Anthony V. Falzon, Esquire
                                Florida Bar No. 69167
                                Primary Email: tony@anthonyfalzon-law.com
                                Secondary Email: assistant@anthonyfalzon-law.com
                                ANTHONY V. FALZON P.A.
                                12000 Biscayne Boulevard
                                Suite 100
                                Miami, FL 33181
                                Telephone: (786) 703 4181
                                Facsimilie: (786) 703 2961
                                Attorney for Plaintiff




                                       11
